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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                           CRIMINAL NO. 1:14-00175-003

JOANNA PADGETT

                      MEMORANDUM OPINION AND ORDER

     Pending before the court is a pro se letter-form motion from

defendant requesting a change in her sentence, which the court

has construed as a motion under 18 U.S.C. § 3582.               (Doc. No. 82).

Section 3582 provides that, subject only to limited exceptions,

the court may not modify a term of imprisonment after its

imposition.    18 U.S.C. § 3582(c).      Because none of these

exceptions is applicable to defendant’s case, the court must DENY

her motion.

     The Clerk is directed to send a copy of this Memorandum

Opinion and Order to counsel of record, the Probation Office of

this court, and to defendant.

     It is SO ORDERED this 17th day of June, 2015.

                                           ENTER:



                                         David A. Faber
                                         Senior United States District Judge
